Case 2:16-cr-00081-SPC-KCD Document 115 Filed 02/16/17 Page 1 of 3 PageID 219




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                 CASE NO: 2:16-cr-81-FtM-99CM

BROWN LASTER, JR.


                                        ORDER

      This matter comes before the Court upon Defendant’s Supplement to Renewed

Motion for Bond (Doc. 114) filed on February 15, 2017, construed as a Motion to

Reopen the Detention Hearing or Reconsider the Order of Detention pursuant to 8

U.S.C. § 3142(f).    Defendant seeks the Court to rule on the merits of the present

motion without holding a hearing.     Doc. 114.

      The Court held a detention hearing on August 23, 2016, after which the Court

made findings on the record and in a written Order detaining Defendant without

prejudice “should a change in circumstances warrant reconsideration in accordance

with the Bail Reform Act.”       Doc. 27.   On January 5, 2017, Defendant filed a

Renewed Motion for Bond (Doc. 86), to which the Government filed a response in

opposition.   Doc. 101.    On February 13, 2017, the Court granted Defendant’s prior

counsel’s motion to withdraw, and appointed Defendant’s current counsel, Allen S.

Kaufman, Esq.       Doc. 109. The Court addressed the Renewed Motion for Bond (Doc.

86) and asked defense counsel whether he planned to move forward on the motion or

requested a hearing. Counsel stated he wished to confer with his new client on the

matter.   Accordingly, the Court denied the motion without prejudice, indicating that
Case 2:16-cr-00081-SPC-KCD Document 115 Filed 02/16/17 Page 2 of 3 PageID 220




the standard for reopening the hearing had not been met.          Doc. 109.   Defendant

filed the present motion based on the grounds stated in his previous Renewed Motion

for Bond (Doc. 86), and does not request a hearing.   Doc. 114.

       Defendant’s motion does not raise any new information not known to him at

the time of the original detention hearing that has a material bearing on the issue of

bond or any changes in circumstances that warrant the Court to reconsider its

previous Order and reopen the hearing.         Docs. 86, 114; See 8 U.S.C. § 3142(f)

(providing that the hearing may be reopened “at any time before trial if the judicial

officer finds that the information exists that was not known to the movant at the time

of the hearing and has a material bearing on the issue whether there are conditions

of release that will reasonably assure the appearance of such person as required and

the safety of any other person and the community.”).     The grounds in the original

motion (Doc. 86) apply to only the issue of the strength of the Government’s case.

See Doc. 86.   As noted it its response, the Government has proffered independent

grounds to support the strength of its case.     Doc. 101.   Furthermore, the Court

detained Defendant based on factors other than the weight of the evidence against

him.   See Doc. 27 at 2.    Defendant has presented no new evidence that has a

material bearing on these other factors, and it is his burden to do so.       18 U.S.C. §

3142(e)(3).




                                         -2-
Case 2:16-cr-00081-SPC-KCD Document 115 Filed 02/16/17 Page 3 of 3 PageID 221




        ACCORDINGLY, it is hereby

        ORDERED:

        Defendant’s Supplement to Renewed Motion for Bond (Doc. 114), construed as

a Motion to Reopen the Detention Hearing or Reconsider the Order of Detention

pursuant to 8 U.S.C. § 3142(f), is DENIED.

        DONE and ORDERED in Fort Myers, Florida on this 16th day of February,

2017.




Copies:
Counsel of record




                                        -3-
